UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF NEW YORK
________________________________________________________________________ X
LIBERTY MUTUAL INSURANCE COMPANY, LIBERTY
MUTUAb FIRE INSURANCE COMPANY, LIBERTY
INSURANCE CORPORATION, THE FIRST LIBERTY
INSURANCE CORPORATION, LM INSURANCE
CORPORATION, LIBERTY MUTUAL MID-ATLANTIC
INSURANCE COMPANY, LIBERTY COUNTY MUTUAL
TNSURANCE COMPANY, LM PROPERTY and
CASUALTY INSURANCE COMPANY, SAFECO
COMPANY OF INDIANA, and AMERICAN STATES
INSURANCE COMPANY,

Plaintiffs,
-against-
WOODSIDE CHEMISTS, INC., RONIKA SONI, LAM C.
QUAN, M.D., LEONID REYFMAN, M.D., LEONID
LITOVSKIY, P.A., ROBERT B, LANTER, D.O., MAXIM
TYORKIN, M.D., PERICLES S. HADJIYANE, M.D.,
TIMOTHY CANTY, M.D., JAMES A. GRIFFIN, P.A.
Defendants.

_____________________________________________________________________ X

STIPULATION

IT IS HEREBY STIPULATED AND AGREED by and between Counsel for Plaintiffs, Liberty
Mutual Insurance Company, Libel'ty Mutual Fire InSurance Company, Libcrty Insurance
Colporation, The F§rst Libel“ty lnsurancc-: Corporation, LM Insurance Corporation, Liberty Mutual
Mid»Atlaniic lnsurance Company, Liberty County Mutual lnsurance Company, LM Property and
Casualty Insurance Company, Safeco Company of Indiana, and American States Insurance

Company (collectively, “Plaintiffs”) and Defendants Timothy Canty, M.D., and James A.

Griff'm, P.A., as follows:

Docket NO.:
1:17-cv-06313(ILG)(CLP)

1. Serviee of the Snmmons and Comp!aint in this matter is hereby acknowledged on

behalf of Defendant Timothy Canty, M.D., and James A. Griffm, P.A., and any affirmative

defense based on service of process is vvaivedl

2. Defendant Timothy Canty M.D. and James A. Griffin, P.A.'S time to answer,

move or otherwise respond to Plaintiffs’ Complaint in this matter is extended through and

including Jannary 8, 2018.
Dated: November 29, 2017

RIVKIN RADLER, LLP
Attorneys for Plaintiffs

Christopher 1\/1. Casa, Esq.
926 RXR Plaza
Uniondale, NY 11556-0926
516-357-30'/'3

SO ORDERED:

 

HON. I. LEO GLASSER

Dated: , 2017

 

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